432 F.2d 556
    UNITED STATES of America, Plaintiff-Appellee,v.Edward Grady PARTIN, Defendant-Appellant.
    No. 30066 Summary Calendar.**Rule 18, 5th Cir.; See Isbell Enterprises, Inc.v.Citizens Casualty Co. of New York et al., 5th Cir., 1970,
    
      431 F.2d 409, Part I.
      United States Court of Appeals, Fifth Circuit.
      Oct. 6, 1970.
      Louis B. Merhige, Baldwin &amp; Merhige, New Orleans, La., for defendant-appellant.
      Walker B. Comegys, Acting Asst. Atty. Gen., Gerald J. Gallinghouse, U.S. Atty., Richard W. McLaren, Atty., U.S. Dept. of Justice, Washington, D.C., Howard E. Shapiro, George Edelstein, Attys., Dept. of Justice, Washington, D.C., for plaintiff-appellee.
      Appeal from United States District Court, Eastern District of Louisiana; William D. Murray, Senior District Judge.
      Before THORNBERRY, MORGAN and CLARK, Circuit Judges.
      PER CURIAM:
    
    
      1
      The appeal is dismissed for lack of jurisdiction.  28 U.S.C. 1291.  Heike v. United States, 217 U.S. 423, 30 S.Ct. 539, 54 L.Ed. 821.
    
    